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7                                      UNITED STATES DISTRICT COURT
8                                 CENTRAL DISTRICT OF CALIFORNIA
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10   JAMAL JOHNSON, individually and on          )   Case No. ED CV 19-2456 FMO (SPx)
     behalf of all others similarly situated,    )
11                                               )
                          Plaintiff,             )
12                                               )   ORDER RE: MOTION FOR PRELIMINARY
                   v.                            )   APPROVAL OF CLASS ACTION
13                                               )   SETTLEMENT
     MOSS BROS. AUTO GROUP, INC., et             )
14   al.,                                        )
                                                 )
15                        Defendant.             )
                                                 )
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17          Having reviewed and considered all the briefing filed with respect to plaintiff’s Amended
18   Motion for Preliminary Approval (Dkt. 123, “Motion”), and the oral argument presented at the
19   hearing on January 20, 2021, the court concludes as follows.
20                                              BACKGROUND
21          On December 20, 2019, Jamal Johnson (“Johnson” or “plaintiff”) filed this action on behalf
22   of himself and all others similarly situated against Moss Bros. Auto Group, Inc. (“Moss Bros.”),
23   asserting claims for violations of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §
24   227. (See Dkt. 1, Complaint at ¶¶ 65-69). On August 24, 2020, Johnson filed the operative
25   Second Amended Complaint (“SAC”) alleging that Moss Bros. and Susan Anderson (“Anderson”)
26   (collectively, “defendants”), negligently and willfully violated the TCPA by sending plaintiff, and
27   others similarly situated, “prerecorded telemarketing messages” to their cell phones, (Dkt. 84, SAC
28   at ¶¶ 27-29), without their express written consent. (Id. at ¶ 32). Plaintiff seeks statutory
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1    damages, injunctive relief, attorney’s fees and costs, and “[s]uch further and other relief as the
2    Court deems necessary.” (See id. at ¶ 5 & Prayer for Relief).
3              After extensive motion practice, (see Dkt. 123, Motion at 2-3, 10), and “engaging in
4    discovery, extensive arm’s-length negotiations, two private mediation sessions, and confirmatory
5    discovery[,]” (id. at 2, 10), the parties reached a settlement in October 2020. (Dkt. 123-1, Class-
6    Wide Settlement Agreement and Release (“Settlement Agreement”) at 2-3). The parties have
7    defined the settlement class as:
8                     All persons within the United States who, within the four years prior to the
9                     filing of this action (i.e., since December 20, 2015), were sent a prerecorded
10                    message from Defendants, auto dealerships managed by Defendants (the
11                    ‘Dealerships’), or anyone acting on behalf of any Defendant or Dealership
12                    (including employees, agents, third-party contractors, and sub-contractors),
13                    to said person’s telephone number, for the purpose of advertising and/or
14                    promoting any dealership that is held, operated, owned, managed, serviced
15                    and/or controlled by, and/or is a subsidiary of, Defendant Moss Bros Auto
16                    Group, Inc.1
17   (Id. at ¶ 34).
18             Pursuant to the settlement, Moss Bros. will pay a gross settlement amount of $2.5 million
19   dollars, (Dkt. 123-1, Settlement Agreement at ¶¶ 30, 37), which will be used to pay class
20   members, the class representative’s service payment, settlement administration costs, taxes,2 and
21   attorney’s fees and costs. (Id. at ¶¶ 61, 63). The settlement provides for up to $625,700 (25%
22   of the gross settlement amount) in attorney’s fees, (id. at ¶ 71); costs not to exceed $75,000, (id.);
23   and an incentive payment of $5,000 for Johnson. (Id. at ¶ 73). Also, the proposed settlement
24   administrator, Epiq Class Action & Claims Solutions, Inc. (“Epiq”), shall be paid no more than
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         The “Settlement Class Period” is defined as “the period from December 20, 2015 . . . through
27   the date of Preliminary Approval.” (Dkt. 123-1, Settlement Agreement at ¶ 6).
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28       The payment of taxes includes “taxes owed as a result of accrued interest on the Escrow
     Account[.]” (Dkt. 123-1, Settlement Agreement at ¶ 61(d)).

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1    $125,000 from the gross settlement amount. (Id. at ¶¶ 2, 42). Each class member who does not
2    opt out will automatically be mailed a settlement check. The amount will be determined by dividing
3    the net settlement amount by the total number of unique telephone numbers that received a
4    message. (Dkt. 123-1, Settlement Agreement at ¶ 62). In addition to monetary relief, the
5    settlement provides prospective nonmonetary relief by requiring defendants and the Dealerships
6    to “adopt policies and procedures regarding compliance with the TCPA and the National Do Not
7    Call Registry.” (Id. at ¶ 38).
8               In his Motion, plaintiff seeks an order (1) preliminarily approving the proposed settlement;
9    (2) certifying the proposed settlement class; (3) appointing plaintiff as class representative; (4)
10   appointing Edelsberg Law, P.A.; Shamis & Gentile, P.A..; Hiraldo, P.A.; Eisenband Law, PA; and
11   IJH Law as class counsel; (5) appointing Epiq as settlement administrator; (6) approving and
12   ordering dissemination of the proposed class notice and forms; and (7) scheduling a final approval
13   hearing. (See Dkt. 123, Motion at 1-2).
14                                             LEGAL STANDARD
15   I.         CLASS CERTIFICATION.
16              At the preliminary approval stage, the court “may make either a preliminary determination
17   that the proposed class action satisfies the criteria set out in Rule 23 . . . or render a final decision
18   as to the appropriateness of class certification.”3 Smith v. Wm. Wrigley Jr. Co., 2010 WL 2401149,
19   *3 (S.D. Fla. 2010) (citation and footnote omitted); see also Sandoval v. Roadlink USA Pac., Inc.,
20   2011 WL 5443777, *2 (C.D. Cal. 2011) (citing Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620,
21   117 S.Ct. 2231, 2248 (1997)) (“Parties seeking class certification for settlement purposes must
22   satisfy the requirements of Federal Rule of Civil Procedure 23[.]”). In the settlement context, a
23   court must pay “undiluted, even heightened, attention” to class certification requirements. See
24   Amchem, 521 U.S. at 620, 117 S.Ct. at 2248; In re Volkswagen “Clean Diesel” Mktg., Sales
25   Pracs., & Prods. Liab. Litig., 895 F.3d 597, 606 (9th Cir. 2018) (same). “Such attention is of vital
26   importance, for a court asked to certify a settlement class will lack the opportunity, present when
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              All “Rule” references are to the Federal Rules of Civil Procedure.

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1    a case is litigated, to adjust the class, informed by the proceedings as they unfold.” Amchem, 521
2    U.S. at 620, 117 S.Ct. at 2248.
3           A party seeking class certification must first demonstrate that: “(1) the class is so numerous
4    that joinder of all members is impracticable; (2) there are questions of law or fact common to the
5    class; (3) the claims or defenses of the representative parties are typical of the claims or defenses
6    of the class; and (4) the representative parties will fairly and adequately protect the interests of the
7    class.” Fed. R. Civ. P. 23(a).
8           “Second, the proposed class must satisfy at least one of the three requirements listed in
9    Rule 23(b).” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 345, 131 S.Ct. 2541, 2548 (2011)
10   (“Dukes”). Rule 23(b) is satisfied if:
11                 (1) prosecuting separate actions by or against individual class members
12                 would create a risk of:
13                         (A) inconsistent or varying adjudications with respect to individual
14                         class members that would establish incompatible standards of
15                         conduct for the party opposing the class; or
16                         (B) adjudications with respect to individual class members that, as a
17                         practical matter, would be dispositive of the interests of the other
18                         members not parties to the individual adjudications or would
19                         substantially impair or impede their ability to protect their interests;
20                 (2) the party opposing the class has acted or refused to act on grounds that
21                 apply generally to the class, so that final injunctive relief or corresponding
22                 declaratory relief is appropriate respecting the class as a whole; or
23                 (3) the court finds that the questions of law or fact common to class members
24                 predominate over any questions affecting only individual members, and that
25                 a class action is superior to other available methods for fairly and efficiently
26                 adjudicating the controversy. The matters pertinent to these findings include:
27                         (A) the class members’ interests in individually controlling the
28                         prosecution or defense of separate actions;

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1                          (B) the extent and nature of any litigation concerning the controversy
2                          already begun by or against class members;
3                          (C) the desirability or undesirability of concentrating the litigation of the
4                          claims in the particular forum; and
5                          (D) the likely difficulties in managing a class action.
6    Fed. R. Civ. P. 23(b)(1)-(3).
7           The party seeking class certification bears the burden of demonstrating that the proposed
8    class meets the requirements of Rule 23. See Dukes, 564 U.S. at 350, 131 S.Ct. at 2551 (“A party
9    seeking class certification must affirmatively demonstrate his compliance with the Rule – that is,
10   he must be prepared to prove that there are in fact sufficiently numerous parties, common
11   questions of law or fact, etc.”). However, courts need not consider the Rule 23(b)(3) issues
12   regarding manageability of the class action, as settlement obviates the need for a manageable
13   trial. See In re Hyundai and Kia Fuel Econ. Litig., 926 F.3d 539, 556-57 (9th Cir. 2019) (en banc)
14   (“The criteria for class certification are applied differently in litigation classes and settlement
15   classes. In deciding whether to certify a litigation class, a district court must be concerned with
16   manageability at trial. However, such manageability is not a concern in certifying a settlement
17   class where, by definition, there will be no trial.”).
18   II.    FAIRNESS OF CLASS ACTION SETTLEMENT.
19          Rule 23 provides that “[t]he claims, issues, or defenses of a certified class – or a class
20   proposed to be certified for purposes of settlement – may be settled . . . only with the court’s
21   approval.” Fed. R. Civ. P. 23(e). “The primary concern of [Rule 23(e)] is the protection of th[e]
22   class members, including the named plaintiffs, whose rights may not have been given due regard
23   by the negotiating parties.” Officers for Just. v. Civ. Serv. Comm’n of the City & Cty. of S.F., 688
24   F.2d 615, 624 (9th Cir. 1982). Whether to approve a class action settlement is “committed to the
25   sound discretion of the trial judge.” Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th
26   Cir. 1992) (internal quotation marks omitted).
27          “If the [settlement] proposal would bind class members, the court may approve it only after
28   a hearing and only on finding that it is fair, reasonable, and adequate[.]” Fed. R. Civ. P. 23(e)(2).

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1    Approval of a class action settlement requires a two-step process – preliminary approval and the
2    dissemination of notice to the class, followed by a later final approval. Spann v. J.C. Penney
3    Corp., 314 F.R.D. 312, 319 (C.D. Cal. 2016). Although “[c]loser scrutiny is reserved for the final
4    approval hearing[,]” Harris v. Vector Mktg. Corp., 2011 WL 1627973, *7 (N.D. Cal. 2011), “the
5    showing at the preliminary approval stage – given the amount of time, money, and resources
6    involved in, for example, sending out . . . class notice[] – should be good enough for final
7    approval.” Spann, 314 F.R.D. at 319; see 4 Newberg on Class Actions, § 13:10 (5th ed.)
8    (“[S]ending notice to the class costs money and triggers the need for class members to consider
9    the settlement, actions which are wasteful if the proposed settlement [is] obviously deficient from
10   the outset.”); see, e.g., Fed. R. Civ. P. 23(e)(1)(A) (“The parties must provide the court with
11   information sufficient to enable it to determine whether to give notice of the proposal to the
12   class.”). In determining whether a settlement is fair, reasonable, and adequate, the newly revised
13   Rule 23(e)(2) standard requires the court to evaluate whether: “(A) the class representatives and
14   class counsel have adequately represented the class; (B) the proposal was negotiated at arm's
15   length; (C) the relief provided for the class is adequate, taking into account: (i) the costs, risks, and
16   delay of trial and appeal; (ii) the effectiveness of any proposed method of distributing relief to the
17   class, including the method of processing class-member claims; (iii) the terms of any proposed
18   award of attorney's fees, including timing of payment; and (iv) any agreement required to be
19   identified under Rule 23(e)(3); and (D) the proposal treats class members equitably relative to
20   each other.”4 Fed. R. Civ. P. 23(e)(2).
21          “At this stage, the court may grant preliminary approval of a settlement and direct notice
22   to the class if the settlement: (1) appears to be the product of serious, informed, non-collusive
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24        Settlement approval requires the court to scrutinize all settlements, whether negotiated prior
     to or after class certification, for conflicts of interest or signs of collusion, including “(1) when
25   counsel receive a disproportionate distribution of the settlement, or when the class receives no
     monetary distribution but class counsel are amply rewarded[;]” “(2) when the parties negotiate a
26   ‘clear sailing’ arrangement[;]” and “(3) when the parties arrange for fees not awarded to revert to
     defendants rather than be added to the class fund[.]” In re Bluetooth Headset Prods. Liab. Litig.,
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     654 F.3d 935, 947 (9th Cir. 2011) (internal quotation marks omitted); see Fed. R. Civ. P. 23(e)(2).
28   The court assesses these factors in connection with final approval.


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1    negotiations; (2) has no obvious deficiencies; (3) does not improperly grant preferential treatment
2    to class representatives or segments of the class; and (4) falls within the range of possible
3    approval.” Spann, 314 F.3d at 319 (internal quotation marks omitted); see Bronson v. Samsung
4    Elecs. Am., Inc., 2019 WL 5684526, *7 (N.D. Cal. 2019) (“Preliminary approval is appropriate if
5    the proposed settlement appears to be the product of serious, informed, non-collusive
6    negotiations, has no obvious deficiencies, does not improperly grant preferential treatment to class
7    representatives or segments of the class, and falls within the range of possible approval.”) (internal
8    quotation marks omitted); see also 2018 Adv. Comm. Notes to Amendments to Rule 23 (stating
9    that “[t]he goal of t[he Rule 23(e)] amendment [wa]s not to displace any factor” that courts
10   considered prior to the amendment, “but rather to focus . . . on the core concerns of procedure and
11   substance that should guide the decision whether to approve the proposal”); 4 Newberg on Class
12   Actions, § 13:10 (5th ed.) (“In 2018, Congress codified this approach into Rule 23.”).
13                                              DISCUSSION
14   I.     CLASS CERTIFICATION.
15          A.     Rule 23(a) Requirements.
16                 1.     Numerosity.
17          The first prerequisite of class certification requires that the class be “so numerous that
18   joinder of all members is impracticable[.]” Fed. R. Civ. P. 23(a)(1). “A class satisfies the
19   prerequisite of numerosity if it is so large that joinder of all class members is impracticable.”
20   Ahlman v. Barnes, 445 F.Supp.3d 671, 684 (C.D. Cal. 2020). “The Ninth Circuit has required at
21   least fifteen members to certify a class, and classes of at least forty members are usually found
22   to have satisfied the numerosity requirement.” Makaron v. Enagic USA, Inc., 324 F.R.D. 228, 232
23   (C.D. Cal. 2018).
24          Here, the class is so numerous that joinder is impracticable. The settlement class includes
25   approximately “54,134 unique individuals,” (see Dkt. 123, Motion at 18), which easily exceeds the
26   minimum threshold for numerosity.
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1                  2.      Commonality.
2           The commonality requirement is satisfied if “there are questions of law or fact common to
3    the class[.]” Fed. R. Civ. P. 23(a)(2). Commonality requires plaintiffs to demonstrate that their
4    claims “depend upon a common contention . . . . [whose] truth or falsity will resolve an issue that
5    is central to the validity of each one of the claims in one stroke.” Dukes, 564 U.S. at 350, 131
6    S.Ct. at 2551; see Wolin v. Jaguar Land Rover N. Am., LLC, 617 F.3d 1168, 1172 (9th Cir. 2010)
7    (The commonality requirement demands that “class members’ situations share a common issue
8    of law or fact, and are sufficiently parallel to insure a vigorous and full presentation of all claims
9    for relief.”) (internal quotation marks omitted). “The plaintiff must demonstrate the capacity of
10   classwide proceedings to generate common answers to common questions of law or fact that are
11   apt to drive the resolution of the litigation.” Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581,
12   588 (9th Cir. 2012) (internal quotation marks omitted). “This does not, however, mean that every
13   question of law or fact must be common to the class; all that Rule 23(a)(2) requires is a single
14   significant question of law or fact.” Abdullah v. U.S. Sec. Assocs., Inc., 731 F.3d 952, 957 (9th
15   Cir. 2013) (emphasis and internal quotation marks omitted); see Mazza, 666 F.3d at 589
16   (characterizing commonality as a “limited burden[,]” stating that it “only requires a single significant
17   question of law or fact”). Proof of commonality under Rule 23(a) is “less rigorous” than the related
18   preponderance standard under Rule 23(b)(3). See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019
19   (9th Cir. 1998), overruled on other grounds as recognized by Castillo v. Bank of Am., NA, 980 F.3d
20   723 (9th Cir. 2020); Mazza, 666 F.3d at 589. “The existence of shared legal issues with divergent
21   factual predicates is sufficient, as is a common core of salient facts coupled with disparate legal
22   remedies within the class.” Hanlon, 150 F.3d at 1019.
23          This case involves common class-wide questions that are apt to drive the resolution of
24   plaintiff’s claims. Here, common questions include: (1) whether defendants were agents of the
25   dealerships; (2) whether defendants called “cellular” numbers using a prerecorded voice; and (3)
26   whether defendants had prior express consent. (See Dkt. 123, Motion at 18). Under the
27   circumstances, the court finds that plaintiff has satisfied the commonality requirement. See, e.g.,
28   Malta v. Fed. Home Loan Mortg. Corp., 2013 WL 444619, *2 (S.D. Cal. 2013) (“There are . . .

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1    several common questions of law, including: (1) whether [defendant] negligently violated the
2    TCPA; (2) whether [defendant] willfully or knowingly violated the TCPA; and (3) whether
3    [defendant] had ‘prior express consent’ for the calls.”); Grant v. Cap. Mgmt. Servs., L.P., 2013 WL
4    6499698, *3 (S.D. Cal. 2013) (“[Q]uestions of law or fact common to all the class members
5    include: (1) whether the class member received a telephone call to the class member's cellular
6    telephone from Defendant; (2) whether Defendant used an automated telephone dialing system
7    in violation of the TCPA; (3) whether Defendant utilized a prerecorded or artificial device; and (4)
8    whether Defendant had express consent to call the class member's cellular telephone.”).
9                  3.      Typicality.
10          “Typicality refers to the nature of the claim or defense of the class representative, and not
11   to the specific facts from which it arose or the relief sought.” Ellis v. Costco Wholesale Corp., 657
12   F.3d 970, 984 (9th Cir. 2011) (internal quotation marks omitted). To demonstrate typicality,
13   plaintiff’s claims must be “reasonably co-extensive with those of absent class members[,]”
14   although “they need not be substantially identical.” Hanlon, 150 F.3d at 1020; see Ellis, 657 F.3d
15   at 984 (“Plaintiffs must show that the named parties’ claims are typical of the class.”). “The test
16   of typicality is whether other members have the same or similar injury, whether the action is based
17   on conduct which is not unique to the named plaintiff[], and whether other class members have
18   been injured by the same course of conduct.” Ellis, 657 F.3d at 984 (internal quotation marks
19   omitted).
20          Here, the claims of the named plaintiff are typical of the claims of the class. Plaintiff’s
21   claims arise from the same nucleus of facts as those of the class – i.e., whether defendants
22   caused prerecorded marketing calls to be sent to plaintiff’s and the class members’ cell phones
23   without first obtaining proper consent – and are based on the same legal theory, i.e., the calls
24   allegedly violated the TCPA. (See Dkt. 123, Motion at 19); see, e.g., Malta, 2013 WL 444619, at
25   *3 (finding plaintiffs’ claims typical of the class in part because their claims were “based on the
26   same legal theory as that applicable to the class: that the calls violated the TCPA”). In short,
27   plaintiff has satisfied the typicality requirement.
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1                  4.     Adequacy of Representation.
2           “The named Plaintiffs must fairly and adequately protect the interests of the class.” Ellis,
3    657 F.3d at 985 (citing Fed. R. Civ. P. 23(a)(4)). “To determine whether [the] named plaintiffs will
4    adequately represent a class, courts must resolve two questions: (1) do the named plaintiffs and
5    their counsel have any conflicts of interest with other class members and (2) will the named
6    plaintiffs and their counsel prosecute the action vigorously on behalf of the class?” Id. (internal
7    quotation marks omitted). “Adequate representation depends on, among other factors, an
8    absence of antagonism between representatives and absentees, and a sharing of interest
9    between representatives and absentees.” Id.
10          Here, the proposed class representative, who has no individual claims separate from the
11   class claims, (see, generally, Dkt. 84, SAC at ¶¶ 46-57), does not appear to have any conflicts of
12   interest with the absent class members. (See Dkt. 123, Motion at 19-20); (Dkt. 123-3, Declaration
13   of Jamal Johnson (“Johnson Decl.”) at ¶ 15); see, e.g., Barbosa v. Cargill Meat Sols. Corp, 297
14   F.R.D. 431, 442 (E.D. Cal. 2013) (“[T]here is no apparent conflict of interest between the named
15   Plaintiffs’ claims and those of the other Class Members’ – particularly because the named Plaintiffs
16   have no separate and individual claims apart from the Class.”). Moreover, Johnson states that
17   he has “and will adequately, represent the interests of the settlement class members[.]” (Dkt. 123-
18   3, Johnson Decl. at ¶ 8). In short, “[t]he adequacy-of-representation requirement is met here
19   because Plaintiff[] ha[s] the same interests as the absent Class Members[.]” Barbosa, 297 F.R.D.
20   at 442.
21          Finally, as noted earlier, adequacy “also factors in competency and conflicts of class
22   counsel.” Amchem, 521 U.S. at 626 n. 20, 117 S.Ct. at 2251 n. 20. Here, the Settlement
23   Agreement provides that the court appoint Edelsberg Law, P.A.; Shamis & Gentile, P.A..; Hiraldo,
24   P.A.; Eisenband Law, PA; and IJH Law as class counsel. (See Dkt. 123-1, Settlement Agreement
25   at ¶ 5) (defining class counsel). Having reviewed the declaration of proposed class counsel, (see
26   Dkt. 123-2, Declaration in Support of Unopposed Motion for Preliminary Approval of Class
27   Settlement and Certification of Settlement Class (“Edelsberg Decl.”) at ¶¶ 8, 10); (id., Exh. 1
28   (Resumes of Class Counsel)), the court finds that plaintiff’s counsel are competent, and there are

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1    no issues as to the adequacy of representation. See Barbosa, 297 F.R.D. at 443 (“There is no
2    challenge to the competency of the Class Counsel, and the Court finds that Plaintiffs are
3    represented by experienced and competent counsel who have litigated numerous class action
4    cases.”).
5           B.     Rule 23(b) Requirements.
6           Certification under Rule 23(b)(3) is proper “whenever the actual interests of the parties can
7    be served best by settling their differences in a single action.” Hanlon, 150 F.3d at 1022 (internal
8    quotation marks omitted). The rule requires two different inquiries, specifically a determination as
9    to whether: (1) “questions of law or fact common to class members predominate over any
10   questions affecting only individual members[;]” and (2) “a class action is superior to other available
11   methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3); see
12   Spann, 314 F.R.D. at 321-22.
13                 1.      Predominance.
14          “[T]he predominance analysis under Rule 23(b)(3) focuses on the relationship between the
15   common and individual issues in the case, and tests whether the proposed class is sufficiently
16   cohesive to warrant adjudication by representation.” Abdullah, 731 F.3d at 964 (internal quotation
17   marks omitted); see Amchem, 521 U.S. at 623, 117 S.Ct. at 2249 (“The Rule 23(b)(3)
18   predominance inquiry tests whether proposed classes are sufficiently cohesive to warrant
19   adjudication by representation.”); In re Wells Fargo Home Mortg. Overtime Pay Litig., 571 F.3d
20   953, 959 (9th Cir. 2009) (“[T]he main concern in the predominance inquiry . . . [is] the balance
21   between individual and common issues.”). “When common questions present a significant aspect
22   of the case and they can be resolved for all members of the class in a single adjudication, there
23   is clear justification for handling the dispute on a representative rather than on an individual basis.”
24   Hanlon, 150 F.3d at 1022 (internal quotation marks omitted); Abdullah, 731 F.3d at 964 (“Rule
25   23(b)(3) requires [only] a showing that questions common to the class predominate, not that those
26   questions will be answered, on the merits, in favor of the class.”) (internal quotation marks
27   omitted). Additionally, the class damages must be sufficiently traceable to plaintiff’s liability case.
28   See Comcast Corp. v. Behrend, 569 U.S. 27, 35, 133 S.Ct. 1426, 1433 (2013).

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1           Here, plaintiff has shown that there are questions common to the class that predominate
2    this case, such as whether defendants violated the TCPA by making artificial or prerecorded calls,
3    and whether defendants obtained proper express written consent. (See Dkt. 123, Motion at 20-
4    21); see, e.g., Robinson v. Paramount Equity Mortg., LLC, 2017 WL 117941, *6 (E.D. Cal. 2017)
5    (“[T]he common questions discussed in conjunction with Rule 23(a)(2) also predominate over any
6    individual issues.”); Malta, 2013 WL 444619, at *4 (“The central inquiry is whether [defendant]
7    violated the TCPA by making calls to the class members. Accordingly, the predominance
8    requirement is met.”). The determination of those questions will establish defendants’ liability on
9    a class-wide basis. In other words, “despite the existence of minor factual differences between
10   the potential class members,” the answers to these questions would drive the resolution of the
11   litigation, “as the common issues predominate over varying factual predicates[.]” See Clesceri v.
12   Beach City Investigations & Protective Servs., Inc., 2011 WL 320998, *7 (C.D. Cal. 2011) (internal
13   quotation marks omitted); Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 443, 453-54, 136 S.Ct.
14   1036, 1045 (2016) (“When one or more of the central issues in the action are common to the class
15   and can be said to predominate, the action may be considered proper under Rule 23(b)(3) even
16   though other important matters will have to be tried separately, such as damages or some
17   affirmative defenses peculiar to some individual class members.”) (internal quotation marks
18   omitted). Finally, the relief sought applies to all class members and is traceable to plaintiff’s
19   liability case. See Comcast, 569 U.S. at 35, 133 S.Ct. at 1433. In short, the court is persuaded
20   that “[a] common nucleus of facts and potential legal remedies dominates this litigation.” Hanlon,
21   150 F.3d at 1022.
22                 2.     Superiority.
23          “The superiority inquiry under Rule 23(b)(3) requires determination of whether the
24   objectives of the particular class action procedure will be achieved in the particular case” and
25   “necessarily involves a comparative evaluation of alternative mechanisms of dispute resolution.”
26   Hanlon, 150 F.3d at 1023. Rule 23(b)(3) provides a list of four non-exhaustive factors relevant to
27   superiority. See Fed. R. Civ. P. 23(b)(3)(A)-(D).
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1           The first factor considers “the class members’ interests in individually controlling the
2    prosecution or defense of separate actions.” Fed. R. Civ. P. 23(b)(3)(A). “This factor weighs
3    against class certification where each class member has suffered sizeable damages or has an
4    emotional stake in the litigation.” Barbosa, 297 F.R.D. at 444. Here, plaintiff does not assert
5    claims for emotional distress, nor is there any indication that the amount of damages any individual
6    class member could recover is significant or substantially greater than the potential recovery of
7    any other class member. (See, generally, Dkt. 84, SAC). The alternative method of resolution –
8    pursuing individual claims for a relatively modest amount of damages – would likely never be
9    brought, as “litigation costs would dwarf potential recovery.” Hanlon, 150 F.3d at 1023; see Leyva
10   v. Medline Indus., Inc., 716 F.3d 510, 515 (9th Cir. 2013) (“In light of the small size of the putative
11   class members’ potential individual monetary recovery, class certification may be the only feasible
12   means for them to adjudicate their claims. Thus, class certification is also the superior method
13   of adjudication.”); Bruno v. Quten Research Inst., LLC, 280 F.R.D. 524, 537 (C.D. Cal. 2011)
14   (“Given the small size of each class member’s claim, class treatment is not merely the superior,
15   but the only manner in which to ensure fair and efficient adjudication of the present action.”). In
16   short, “there is no evidence that Class members have any interest in controlling prosecution of
17   their claims separately nor would they likely have the resources to do so.” Munoz v. PHH Corp.,
18   2013 WL 2146925, *26 (E.D. Cal. 2013).
19          The second factor is “the extent and nature of any litigation concerning the controversy
20   already begun by or against class members[.]” Fed. R. Civ. P. 23(b)(3)(B). While any class
21   member who wishes to control his or her own case may opt out of the class, see Fed. R. Civ. P.
22   23(c)(2)(B)(v), “other pending litigation is evidence that individuals have an interest in controlling
23   their own litigation[.]” 2 Newberg on Class Actions, § 4:70 (5th ed.) (emphasis omitted). Here,
24   there is no indication that any class member is involved in any other litigation concerning the
25   claims in this case. (See, generally, Dkt. 123, Motion). The third factor is “the desirability or
26   undesirability of concentrating the litigation of the claims in the particular forum[,]” and the fourth
27   factor is “the likely difficulties in managing a class action.” Fed. R. Civ. P. 23(b)(3)(C)-(D). As
28   noted above, “[i]n the context of settlement . . . the third and fourth factors are rendered moot and

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1    are irrelevant.” Barbosa, 297 F.R.D. at 444; see Amchem, 521 U.S. at 620, 117 S.Ct. at 2248
2    (“Confronted with a request for settlement-only class certification, a district court need not inquire
3    whether the case, if tried, would present intractable management problems, . . . for the proposal
4    is that there be no trial.”) (citation omitted); In re Hyundai, 926 F.3d at 556-57 (“The criteria for
5    class certification are applied differently in litigation classes and settlement classes. In deciding
6    whether to certify a litigation class, a district court must be concerned with manageability at trial.
7    However, such manageability is not a concern in certifying a settlement class where, by definition,
8    there will be no trial.”).
9           The only factors in play here weigh in favor of class treatment. Further, the filing of
10   separate suits by thousands of other class members “would create an unnecessary burden on
11   judicial resources.” Barbosa, 297 F.R.D. at 445. Under the circumstances, the court finds that
12   the superiority requirement is satisfied.
13   II.    FAIRNESS,         REASONABLENESS,         AND     ADEQUACY         OF    THE     PROPOSED
14          SETTLEMENT.
15          A.      The Settlement Is the Product of Arm’s-Length Negotiations.
16          Pursuant to Rule 23(e)(2)(B), the court must evaluate whether the settlement was
17   negotiated at arm’s length. However, “the court’s intrusion upon what is otherwise a private
18   consensual agreement negotiated between the parties to a lawsuit must be limited to the extent
19   necessary to reach a reasoned judgment that the agreement is not the product of fraud or
20   overreaching by, or collusion between, the negotiating parties, and that the settlement, taken as
21   a whole, is fair, reasonable and adequate to all concerned.” Rodriguez v. W. Publ’g Corp., 563
22   F.3d 948, 965 (9th Cir. 2009) (internal quotation marks omitted).
23          Here, the parties “actively litigated [this] action” and prior to settling, had several pending
24   motions, including motions to compel arbitration and motions to intervene. (See Dkt. 123, Motion
25   at 10); (Dkts. 56-58, 97-99). The parties conducted discovery and litigated a discovery motion.
26   (See Dkt. 123, Motion at 2, 10); (Dkt. 102, Court’s Order of September 14, 2020). The parties also
27   engaged in “extensive arm’s-length negotiations, two private mediation sessions [before two
28   experienced mediators], and confirmatory discovery.” (Dkt. 123, Motion at 2, 10). Finally,

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1    plaintiff’s counsel, based on their review of the record, have concluded that the settlement is “fair,
2    reasonable and adequate and in the best interests of the Class Members.” (Dkt. 123-2, Edelsberg
3    Decl. at ¶ 9).
4               Based on the evidence and record before the court, the court is persuaded that the parties
5    thoroughly investigated and considered their own and the opposing parties’ positions. The parties
6    had a sound basis for measuring the terms of the settlement against the risks of continued
7    litigation, and there is no evidence that the settlement was “the product of fraud or overreaching
8    by, or collusion between, the negotiating parties[.]” Rodriguez, 563 F.3d at 965 (internal quotation
9    marks omitted).
10              B.    The Amount Offered in Settlement Falls Within a Range of Possible Judicial
11                    Approval and Is a Fair and Reasonable Outcome for Class Members.
12                    1.     Recovery for Class Members.
13              As described above, class members will share in a gross settlement amount of $2,500,000.5
14   (Dkt. 123-1, Settlement Agreement at ¶¶ 30, 37). Plaintiff’s counsel estimate that the individual
15   class member award will be “approximately $46, less attorneys’ fees and costs and notice and
16   administration costs.”6 (Dkt. 123-2, Edelsberg Decl. at ¶ 6); (Dkt. 123, Motion at 13). Plaintiff
17   contends that the settlement amount is fair and reasonable given the substantial litigation risks,
18   including risks associated with arbitrability. (See Dkt. 123, Motion at 12). Specifically, at the time
19   of settlement, defendants had two pending motions to compel arbitration and sought to enforce
20   a class-action waiver. (See id.). Moreover, plaintiff risked not prevailing on a motion for class
21   certification, particularly in light of defendants’ contentions regarding consent. (See id.). Plaintiff
22
        5
23          The Settlement Agreement provides that “[a]ny Settlement Fund Payments that (i) remain
     uncashed after 180 days from issuance, or (ii) are returned as undeliverable, shall be cancelled
24   and remitted to Defendants. Such funds shall be returned to and retained by Defendants, and not
     otherwise distributed as part of the Settlement." (Dkt. 123-1, Settlement Agreement at ¶ 65). The
25   court will more fully assess this provision and the Bluetooth factors in connection with the motion
     for final approval.
26
            6
             Assuming all the requested fees and costs are awarded, $625,700 in attorney’s fees;
27
     $75,000 in costs; $5,000 incentive award; and $125,000 for notice costs and administration, (see
28   Dkt. 123-1, Settlement Agreement at ¶¶ 42, 71, 73), the court estimates that each class member
     will receive approximately $31.

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1    adds that, even if he prevailed at class certification and trial, risks to the class would remain
2    because a judgment on behalf of approximately 54,134 class members “would total nearly $27
3    million, which could then be subject to trebling up to $81 million[,]” which posed a substantial risk
4    that it “would never be paid.” (Id. at 13).
5           Under the circumstances, the court is persuaded that the settlement relief is fair,
6    reasonable, and adequate, particularly when taking into account the costs, risks, and delay of trial
7    and appeal. See Fed. R. Civ. P. 23(e)(2)(C)(i). The costs and risks of continued litigation are
8    significant in this case. Weighed against those costs and risks, and coupled with the delays
9    associated with continued litigation, the court is persuaded that the relief provided to the class is
10   adequate and falls within the range of reasonableness. See, e.g., In re Mego Fin. Corp. Sec.
11   Litig., 213 F.3d 454, 459 (9th Cir. 2000) (ruling that “the Settlement amount of almost $2 million
12   was roughly one-sixth of the potential recovery, which, given the difficulties in proving the case,
13   [was] fair and adequate”); In re Uber FCRA Litig., 2017 WL 2806698, *7 (N.D. Cal. 2017) (granting
14   preliminary approval of settlement that was worth “7.5% or less” of the expected value); see also
15   Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th Cir. 1998) (“The fact that a proposed
16   settlement may only amount to a fraction of the potential recovery does not, in and of itself, mean
17   that the proposed settlement is grossly inadequate and should be disapproved.”) (internal
18   quotation marks omitted).
19                 2.     Release of Claims.
20          The court must also consider whether a class action settlement contains an overly broad
21   release of liability. See 4 Newberg on Class Actions § 13:15 (5th ed.) (“Beyond the value of the
22   settlement, courts [have] rejected preliminary approval when the proposed settlement contains
23   obvious substantive defects such as . . . overly broad releases of liability.”); see, e.g., Fraser v.
24   Asus Comput. Int’l, 2012 WL 6680142, *3 (N.D. Cal. 2012) (denying preliminary approval of
25   proposed settlement that provided defendant a “nationwide blanket release” in exchange for
26   payment “only on a claims-made basis[,]” without the establishment of a settlement fund or any
27   other benefit to the class). Here, class members who do not exclude themselves from the
28   settlement will release:

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1                  [A]ny and all liabilities, rights, claims, actions, causes of action, demands,
2                  damages, costs, attorneys’ fees, losses, and remedies of every nature and
3                  description, whether known or unknown, existing or potential, suspected or
4                  unsuspected, liquidated or unliquidated, legal, statutory, or equitable, that
5                  may exist as of the date of the Preliminary Approval Order and result from,
6                  arise out of, are based upon, or relate in any way to the factual allegations
7                  and/or legal assertions made in the operative Second Amended Complaint,
8                  . . . during the Settlement Class Period, including all claims under the [TCPA]
9                  and all claims under any other statute, regulatory or administrative
10                 promulgation, common law, or case law that arise out of or relate to any
11                 marketing, advertising, promotional activities, text messages, phone calls,
12                 voicemails, communications from automatic telephone dialing systems,
13                 artificial or prerecorded voice messages, or Messages directed to Settlement
14                 Class Members by or on behalf of any Defendant, Dealership, or other
15                 Released Party.
16   (Dkt. 123-1, Settlement Agreement at ¶ 66). The Release also contains a limited waiver of rights
17   under California Civil Code § 1542 and similar statutes; it is “expressly limited to claims that relate
18   to the factual allegations and/or legal assertions made in the operative Second Amended
19   Complaint.” (Id. at ¶¶ 67-68).
20          With the understanding that, under the Release, the settlement class members are not
21   giving up claims unrelated to those asserted in this action, the court finds that the Release
22   adequately balances fairness to absent class members and recovery for the class with defendants’
23   business interest in ending this litigation with finality. See, e.g., Fraser, 2012 WL 6680142, at *4
24   (recognizing defendant’s “legitimate business interest in ‘buying peace’ and moving on to its next
25   challenge” as well as the need to prioritize “[f]airness to absent class member[s]”); see also Hess
26   v. Sprint Corp., 598 F.3d 581, 590 (9th Cir. 2010) (“A settlement agreement may preclude a party
27   from bringing a related claim in the future even though the claim was not presented and might not
28   have been presentable in the class action, but only where the released claim is based on the

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1    identical factual predicate as that underlying the claims in the settled class action.”) (internal
2    quotation marks omitted).
3           C.     The Settlement Agreement Does Not Improperly Grant Preferential Treatment to the
4                  Class Representative.
5           Pursuant to Rule 23(e)(2)(D), the court must evaluate whether the settlement “treats class
6    members equitably relative to each other.” One of the areas the court must scrutinize carefully
7    is “[i]ncentive awards [which] are payments to class representatives for their service to the class
8    in bringing the lawsuit.” Radcliffe v. Experian Info. Sols. Inc., 715 F.3d 1157, 1163 (9th Cir. 2013).
9    The Ninth Circuit has instructed “district courts to scrutinize carefully the awards so that they do
10   not undermine the adequacy of the class representatives.” Id. The court must examine whether
11   there is a “significant disparity between the incentive awards and the payments to the rest of the
12   class members” such that it creates a conflict of interest. See id. at 1165. “In deciding whether
13   [an incentive] award is warranted, relevant factors include the actions the plaintiff has taken to
14   protect the interests of the class, the degree to which the class has benefitted from those actions,
15   and the amount of time and effort the plaintiff expended in pursuing the litigation.” Cook v. Niedert,
16   142 F.3d 1004, 1016 (7th Cir. 1998).
17          The Settlement Agreement provides that plaintiff may apply to the court for a service award
18   of $5,000. (See Dkt. 123-1, Settlement Agreement at ¶ 73). Such an award is presumptively
19   reasonable. See, e.g., Dyer v. Wells Fargo Bank, N.A., 303 F.R.D. 326, 335 (N.D. Cal. 2014)
20   (finding an incentive award of $5,000 presumptively reasonable). Under the circumstances here,
21   the court tentatively finds that an incentive payment of no more than $5,000 is appropriate. See
22   id.
23          D.     Class Notice and Notification Procedures.
24          Upon settlement of a certified class, “[t]he court must direct notice in a reasonable manner
25   to all class members who would be bound by the proposal[.]” Fed. R. Civ. P. 23(e)(1)(B). Rule
26   23(c)(2) requires the “best notice that is practicable under the circumstances, including individual
27   notice” of particular information. See Fed. R. Civ. P. 23(c)(2)(B) (enumerating notice requirements
28   for classes certified under Rule 23(b)(3)).

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1           A class action settlement notice “is satisfactory if it generally describes the terms of the
2    settlement in sufficient detail to alert those with adverse viewpoints to investigate and to come
3    forward and be heard.” Churchill Vill., LLC v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)
4    (internal quotation marks omitted). “The standard for the adequacy of a settlement notice in a
5    class action under either the Due Process Clause or the Federal Rules is measured by
6    reasonableness.” Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 113 (2d Cir. 2005); Low
7    v. Trump Univ., LLC, 881 F.3d 1111, 1117 (9th Cir. 2018) (“The yardstick against which we
8    measure the sufficiency of notices in class action proceedings is one of reasonableness.”) (internal
9    quotation marks omitted). Settlement notices “are sufficient if they inform the class members of
10   the nature of the pending action, the general terms of the settlement, that complete and detailed
11   information is available from the court files, [and] that any class member may appear and be heard
12   at the hearing[.]” Gooch v. Life Invs. Ins. Co. of Am., 672 F.3d 402, 423 (6th Cir. 2012) (internal
13   quotation marks omitted); see, e.g., Wershba v. Apple Comput., Inc., 91 Cal.App.4th 224, 252
14   (2001), disapproved of on other grounds by Hernandez v. Restoration Hardware, Inc., 4 Cal.5th
15   260, 269 (2018) (“As a general rule, class notice must strike a balance between thoroughness and
16   the need to avoid unduly complicating the content of the notice and confusing class members.”).
17   The notice should provide sufficient information to allow class members to decide whether they
18   should accept the benefits of the settlement, opt out and pursue their own remedies, or object to
19   the terms of the settlement but remain in the class. See In re Integra Realty Res., Inc., 262 F.3d
20   1089, 1111 (10th Cir. 2001) (“The standard for the settlement notice under Rule 23(e) is that it
21   must ‘fairly apprise’ the class members of the terms of the proposed settlement and of their
22   options.”) (internal quotation marks omitted).
23          Here, the parties request that Epiq be appointed as settlement administrator. (See Dkt.
24   123-1, Settlement Agreement at ¶ 2). Class members will receive individual notice by first class
25   mail, (see id. at ¶¶ 17, 45), which will consist of the Notice of Class Action Settlement. (See id.,
26   Exh. 1, “Notice”). Additionally, Epiq will establish a settlement website that will enable class
27   members to access the Long-Form Notice (id., Exh. 2), relevant case documents, and contact
28   information for class counsel. (See id. at ¶ 47). The Long-Form Notice describes the nature of

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1    the action and the claims alleged. (See id., Exh. 2, Long-Form Notice at 3); see also Fed. R. Civ.
2    P. 23(c)(2)(B)(i) & (iii). It provides the definition of the class, (see Dkt. 123-1, Exh. 2, Long-Form
3    Notice at 1, 3-4); see also Fed. R. Civ. P. 23(c)(2)(B)(ii), and explains the terms of the settlement,
4    including the settlement amount, the distribution of that amount, and the release. (See Dkt. 123-1,
5    Exh. 2, Long-Form Notice at 1, 4-6). The Notice includes an explanation that lays out the class
6    members’ options under the settlement: they may remain in the class, object to the settlement but
7    still remain in the class, or exclude themselves from the settlement and pursue their claims
8    separately against defendant. (See id. at 1, 4-5, 7-8); see also Fed. R. Civ. P. 23(c)(2)(B)(v) &
9    (vi). Finally, the Notice explains the procedures for objecting to the settlement, (see Dkt. 123-1,
10   Exh. 2, Long-Form Notice at 7-8), and provides information about the Final Fairness Hearing.
11   (See id. at 8).
12          Based on the foregoing, the court finds there is no alternative method of distribution that
13   would be more practicable here, or any more reasonably likely manner to notify the class
14   members. Under the circumstances, the court finds that the procedure for providing notice and
15   the content of the class notice constitute the best practicable notice to class members and comply
16   with the requirements of due process.
17          E.     Summary.
18          The court’s preliminary evaluation of the Settlement Agreement does not disclose grounds
19   to doubt its fairness “such as unduly preferential treatment of class representatives or segments
20   of the class, inadequate compensation or harms to the classes, . . . or excessive compensation
21   for attorneys.” Manual for Complex Litigation § 21.632 at 321 (4th ed. 2004); see also Spann, 314
22   F.R.D. at 323.
23                                             CONCLUSION
24          Based on the foregoing, IT IS ORDERED THAT:
25          1. Plaintiff’s Amended Motion for Preliminary Approval (Document No. 123) is granted
26   upon the terms and conditions set forth in this Order.
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1            2. The court preliminarily certifies the class, as defined in ¶ 34 of the Class-Wide
2    Settlement Agreement and Release (“Settlement Agreement”) (Dkt. 123-1), for the purposes of
3    settlement.
4            3. The court preliminarily appoints plaintiff Jamal Johnson as class representative for
5    settlement purposes.
6            4. The court preliminarily appoints Edelsberg Law, P.A.; Shamis & Gentile, P.A..; Hiraldo,
7    P.A.; Eisenband Law, PA; and IJH Law as class counsel for settlement purposes.
8            5. The court preliminarily finds that the terms of the settlement are fair, reasonable, and
9    adequate, and comply with Rule 23(e) of the Federal Rules of Civil Procedure.
10           6. The court approves the form, substance, and requirements of the class Notice, (Dkt.
11   123-1, Exhs. 1 (Notice) & 2 (Long-Form Notice)). The proposed manner of notice of the
12   settlement set forth in the Settlement Agreement constitutes the best notice practicable under the
13   circumstances and complies with the requirements of due process.
14           7. Epiq shall complete dissemination of class notice, in accordance with the Settlement
15   Agreement, no later than September 1, 2021.
16           8. Plaintiff shall file a motion for an award of class representative incentive payment and
17   attorney’s fees and costs no later than October 1, 2021, and notice it for hearing for the date of
18   the final approval hearing set forth below.7
19           9. Any class member who wishes to: (a) object to the settlement, including the requested
20   attorney’s fees, costs and incentive award; or (b) exclude him or herself from the settlement must
21   file his or her objection to the settlement, or request exclusion no later than November 1, 2021,
22   in accordance with the Notice and this Order.
23           10. Plaintiff shall, no later than November 15, 2021, file and serve a motion for final
24   approval of the settlement and a response to any objections to the settlement. The motion shall
25   be noticed for hearing for the date of the final approval hearing set forth below.8
26
       7
27        If the request for attorney’s fees is made under the percentage-of-the-fund method, counsel
     shall also make a showing under the lodestar method.
28      8
            The motion shall address each Rule 23(e) requirement as well as the Bluetooth factors.

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1           11. Defendants may file and serve a memorandum in support of final approval of the
2    Settlement Agreement and/or in response to objections no later than November 22, 2021.
3           12. Any class member who wishes to appear at the final approval (fairness) hearing, either
4    on his or her own behalf or through an attorney, to object to the settlement, including the
5    requested attorney’s fees, costs or incentive award, shall, no later than November 22, 2021, file
6    with the court a Notice of Intent to Appear at Fairness Hearing.
7           13. A final approval (fairness) hearing is hereby set for December 16, 2021, at 10:00 a.m.
8    in Courtroom 6D of the First Street Courthouse, to consider the fairness, reasonableness, and
9    adequacy of the Settlement as well as the award of attorney’s fees and costs to class counsel, and
10   incentive award to the class representative.
11          14. All proceedings in the Action, other than proceedings necessary to carry out or enforce
12   the Settlement Agreement or this Order, are stayed pending the final fairness hearing and the
13   court’s decision whether to grant final approval of the settlement.
14   Dated this 25th day of June, 2021.
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16                                                                      /s/
                                                                   Fernando M. Olguin
17                                                            United States District Judge
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